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     Attorneys for Defendants
 8   BUSINESS FINANCIAL SERVICES, INC.,
     BUSINESS CASH ADVANCE, INC., FATON, INC.
 9
                              UNITED STATES DISTRICT COURT
10
                            SOUTHERN DISTRICT OF CALIFORNIA
11
     CAPTAIN BOUNCE, INC., SEVAG                        ) CASE NO.: '11CV0858 JLS WMC
12   KALAJAIN, SAMUEL                                   )
     KHATOMATOURIAN, and TAMRA                          )
13   COVIELLO dba KC DANCEGEAR,                         ) DEFENDANT BUSINESS FINANCIAL
     individually and on behalf of all others similarly ) SERVICES, INC., BUSINESS CASH
14   situated,                                          ) ADVANCE, INC. AND FATON, INC’S
                                                        ) NOTICE OF PARTY WITH FINANCIAL
15                  Plaintiffs,                         ) INTEREST
                                                        )
16           vs.                                        ) (Fed. R. Civ. P. 7.1; CivLR 40.2)
                                                        )
17   BUSINESS FINANCIAL SERVICES, INC., )
     BUSINESS CASH ADVANCE, INC., FATON, )
18   INC., and DOES 1 through 50, inclusive,            )
                                                        )
19                  Defendants.                         )
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                             NOTICE OF PARTY WITH FINANCIAL INTEREST
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 1   TO THE COURT, ALL PARTIES AND THEIR COUNSEL:

 2            Pursuant to Civil Local Rule 40.2, counsel for defendants Business Financial Services, Inc.,

 3   Business Cash Advance, Inc., and Faton, Inc hereby notify the Court that:

 4            Defendant Business Cash Advance, Inc. is a dba for Business Financial Services, Inc.

 5   Defendants Business Financial Services, Inc. and Faton, Inc. are wholly owned by BFS Companies,

 6   Inc., a Delaware corporation.

 7                                                   Respectfully submitted,

 8   Dated:    April 22, 2011                         KATTEN MUCHIN ROSENMAN LLP
 9
                                                      By:        /s/ Gregory S. Korman
10                                                            Gregory S. Korman
                                                      Attorneys for Defendants BUSINESS
11                                                    FINANCIAL SERVICES, INC., BUSINESS
                                                      CASH ADVANCE, INC., and FATON, INC.
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                                 NOTICE OF PARTY WITH FINANCIAL INTEREST
